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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


SERPIL CAN, individually and as
administrator and personal representative of
the estate of RAMAZAN CAN, deceased, and
ESRA CAN, a minor, by her mother and
guardian, SERPIL CAN;

AYŞEGÜL KARADAĞ, individually and as
administrator and personal representative of
the estate of OSMAN KARADAĞ, deceased,
DUYGU NUR KARADAĞ, a minor, by her
mother and guardian, AYŞEGÜL KARADAĞ,
and HATICE AFRA KARADAĞ, a minor by                        3:08-cv-01087 (CSH)
her mother and guardian, AYŞEGÜL
KARADAĞ; and
                                                         OPINION AND ORDER
FATMA VURUCU, individually and as
administrator and personal representative of       On Defendants’ Motions To Dismiss
the estate of ADEM VURUCU, deceased, ALI                    [docs. ##13, 17]
CIHAN VURUCU, a minor, by his mother and
guardian, FATMA VURUCU, and AHMET
YASIN VURUCU, a minor, by his mother and
guardian, FATMA VURUCU;

       Plaintiffs,

 v.

GOODRICH PUMP & ENGINE CONTROL
SYSTEMS, INC.; ROLLS-ROYCE
CORPORATION; WAYNE WATTLEY;
DEAN ANDERSON; AND JIM DANA;

       Defendants.


HAIGHT, Senior District Judge:

I.     Introduction

       This action concerns a helicopter crash that occurred on July 19, 2006, in Antalya,

Turkey. The helicopter was manufactured by MD Helicopters, Inc., an Arizona corporation not a
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defendant, with component parts that were manufactured by the two principal defendants in the

action, Rolls-Royce Corporation (“RRC”) and Goodrich Pump & Engine Control Systems, Inc.

(“GPECS”).1 Plaintiffs, who appear both in their individual capacities and as representatives of

relatives who died in the crash, are all citizens of Turkey. This Court’s subject matter jurisdiction

arises under 28 U.S.C. § 1332(a)(2), because plaintiffs are citizens or subjects of a foreign state,

defendants are citizens of several states, and the matter in controversy exceeds $75,000.

Plaintiffs have alleged state law claims for product liability against RRC (Count I), negligence

against RRC (Count II), product liability against GPECS (Count III), negligence against GPECS

(Count IV), and destruction or spoliation of evidence against all defendants (Count V).

       All defendants have moved under Fed. R. Civ. P. 12(b)(6) to dismiss the Complaint for

failure to state a claim. GPECS limits its motion to one argument: the issue-preclusive effect of

a state-court judgment in Indiana, where the Superior Court of Marion County (the “Indiana

Court”) dismissed an almost identical suit2 (the “Indiana Action”) on the grounds of forum non

conveniens.3 See GPECS Mot. [doc. #13]; Order of Dismissal, Can v. Rolls-Royce Corp., Cause

No. 49D03-0707-PL-029590 (Ind. Super. Ct. June 24, 2008), reproduced as GPECS Br. ex. B

[doc. #15-3 at 15-17] [hereinafter “Indiana Decision”]. RRC joins in GPECS’s issue-preclusion

argument; also, in the alternative, RRC moves to dismiss for lack of personal jurisdiction, and it


1.    Defendants Wayne Wattley, Dean Anderson, and Jim Dana are all employees of Goodrich
Pump & Engine Control Systems, Inc., who reside in Connecticut. They are represented by the
company’s counsel and join in its motion, hence they are all collectively referred to as “GPECS.”
See GPECS Mem. [doc. #15] at 2 n.1.
2.     The degree of overlap between the two lawsuits is discussed infra in Part III.B.1.
3.      “[D]efendants GPECS . . . have filed this motion solely on the grounds of the order of the
Indiana state court in an effort to preserve judicial time and resources. However, GPECS
reserves the right to contest the convenience of Connecticut as a forum if this Court determines
not to enforce the judgment of the Indiana state court.” Defs.’ Mem. [doc. #15] at 2 n.1.

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makes a separate, substantive forum non conveniens argument in addition to any preclusion-

based reliance it places on the Indiana Decision. See RRC Mot. [doc. #17]. Plaintiffs and

GPECS have requested oral argument, but after review of the papers, the Court finds that it

would serve no judicial interest.

II.      Standard of Review on Motion To Dismiss

         A motion to dismiss under Rule 12(b)(6) must be decided on “facts stated on the face of

the complaint, in documents appended to the complaint or incorporated in the complaint by

reference, and [] matters of which judicial notice may be taken.” Leonard F. v. Israel Disc. Bank

of N.Y., 199 F.3d 99, 107 (2d Cir. 1999) (citation omitted). On a 12(b)(6) motion, all complaints

must be construed liberally. See Rescuecom Corp. v. Google, Inc., 562 F.3d 123, 127 (2d Cir.

2009).

III.     Issue Preclusion (Collateral Estoppel) and the Effect of the Indiana Decision

         A.     Applicable Law

         On a motion to dismiss under Rule 12(b)(6), judicial notice may be taken of other judicial

documents that might provide the basis for issue preclusion. Cf. Day v. Moscow, 955 F.2d 807,

811 (2d Cir. 1992) (for the related doctrine of claim preclusion or res judicata, “when all relevant

facts” are amenable to being judicially noticed, “the defense may be upheld on a Rule 12(b)(6)

motion without requiring an answer”). Although commentators disagree about the propriety of

raising issue preclusion on a motion to dismiss, 4 the rule in the Second Circuit is to allow such a

4.     Compare 18 Moore’s Federal Practice § 132.05[6][a]-[b] (Supp. 2010) (stating that issue
preclusion may be raised on a motion to dismiss but not under Rule 12(b)(6)) with 18 Alan
Wright et al., Federal Practice & Procedure § 4405, at 103 & nn.32-33 (2d ed. & Supp. 2009)
(“In various circumstances, preclusion defenses have been entertained on motions to dismiss.
This procedure is most appropriate if the defense appears on the face of the complaint, but it has
also been indulged when the parties have acquiesced and there is no apparent harm. If matters
outside the pleadings are considered, it is better to treat the motion as one for summary

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motion. See Conopco, Inc. v. Roll Int’l., 231 F.3d 82, 86-87 (2d Cir. 2000) (when a defendant

raises the affirmative defense of res judicata or collateral estoppel “and it is clear from the face of

the complaint . . . that the plaintiff’s claims are barred as a matter of law,” dismissal under Fed.

R. Civ. P. 12(b)(6) is appropriate); Flaherty v. Lang, 199 F.3d 607, 612, 614-15 (2d Cir. 1999);

Drance v. Citicorp, 347 Fed. Appx. 608, 609 (2d Cir. Aug. 27, 2009) (unpublished decision) (“In

its decision granting the Defendants’ motion to dismiss, the district court discussed Drance’s

prior action, and properly found that it was precluded by the doctrine of collateral estoppel.”).

Furthermore, “the party asserting preclusion bears the burden of showing with clarity and

certainty what was determined by the prior judgment.” BBS Norwalk One, Inc. v. Raccolta, Inc.,

117 F.3d 674, 677 (2d Cir. 1997) (internal quotation marks omitted). On the other hand, “the

burden of showing that the prior action did not afford a full and fair opportunity to litigate the

issues rests with [] the party opposing the application of issue preclusion.” Kulak v. City of New

York, 88 F.3d 63, 72 (2d Cir. 1996).

       The “fundamental notion” underlying issue preclusion, also known as collateral estoppel,

“is that an issue of law or fact actually litigated and decided by a court of competent jurisdiction

in a prior action may not be relitigated in a subsequent suit between the same parties or their

privies.” Ali v. Mukasey, 529 F.3d 478, 489 (2d Cir. 2008). In order to find that subsequent

litigation of a particular issue would be precluded under the doctrine of collateral estoppel, the

Court must find four elements to be met:

               (1) the issues in both proceedings are identical, (2) the issue in the
               prior proceeding was actually litigated and actually decided, (3)
               there was a full and fair opportunity for litigation in the prior
               proceeding, and (4) the issues previously litigated were necessary
               to support a valid and final judgment on the merits.

judgment.” (footnotes omitted)).

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Id. (internal quotation marks and citations omitted); see also Central Hudson Gas & Elec. Corp.

v. Empresa Naviera Santa S.A., 56 F.3d 359, 368 (2d Cir. 1995).

       The Second Circuit has also stated that “[t]o determine the [preclusive] effect of a state

court judgment,” in order to satisfy the Full Faith and Credit Act, 28 U.S.C. § 1738, “federal

courts, including those sitting in diversity, are required to apply the preclusion law of the

rendering state.” Conopco, 231 F.3d at 87; see also Kremer v. Chem. Constr. Corp., 456 U.S.

461 (1982). The current requirements of issue preclusion in Indiana are uncertain, 5 but in any

event, the federal law of issue preclusion requires all the same elements and possibly more. 6

Because the parties have argued federal law, I deal primarily with those arguments, pausing to

note that a finding of preclusion under federal law necessarily implies a finding of preclusion

under Indiana law.

5.      In 1992, the Indiana Supreme Court updated the state’s law of collateral estoppel to ask
only “[(a)] whether the party against whom the prior judgment is pled had a full and fair
opportunity to litigate the issue and [(b)] whether it would be otherwise unfair under the
circumstances to permit the use of collateral estoppel.” Sullivan v. Am. Cas. Co. of Reading, Pa.,
605 N.E.2d 134, 138 (Ind. 1992); see also id. at 139 (“We are persuaded that mutuality of
estoppel and identity of parties should no longer be required for the defensive use of collateral
estoppel, and we adopt the modern rule”). But subsequent decisions of Indiana’s intermediate
appellate court suggest that an older standard may still be in effect. See Reising v. Guardianship
of Reising, 852 N.E.2d 644, 649 (Ind. Ct. App. 2006) (“Collateral estoppel requires the
following: 1) a final judgment on the merits in a court of competent jurisdiction; 2) identity of
issues; and 3) the party to be estopped was a party or the privy of a party in the prior action. The
court must then consider whether the use of collateral estoppel is appropriate: [(a)] whether the
party against whom the judgment is pled has had a full and fair opportunity to litigate the issue
and [(b)] whether, under the circumstances, it would be otherwise unfair to permit the use of
collateral estoppel.” (citation omitted)); see also Stephen E. Arthur & Jerome L. Withered, 22A
Indiana Practice: Civil Trial Practice § 36.6 (Supp. 2009). Regardless, even if the party-or-privy
element was still required under Indiana law, it is met in the case at bar because issue preclusion
is asserted against plaintiffs, who are the exact same plaintiffs as those in the Indiana Action.
6.      For example, using the numbering in note 5, Indiana element (1) requires only a final
judgment on the merits in a court of competent jurisdiction, while federal element (4) requires
that the issue being precluded was necessary to support that judgment. It is possible, however,
that federal element (4) would be subsumed under Indiana’s catch-all fairness prong, element (b).

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       B.      Discussion

       It is evident that defendants have established elements (2) through (4) of the federal

collateral estoppel analysis. With respect to elements (2) and (3), the parties here agree that the

issue of forum non conveniens was actually litigated and actually decided by the state court in

Indiana,7 and plaintiffs have not asserted that their opportunity to do so was incomplete or

somehow unfair.8

       Furthermore, as to element (4), it is beyond question that the issue of forum non

conveniens was “necessary to support” the Indiana Court’s “valid and final judgment on the

merits.” In its entirety, the Indiana Decision stated the following:

                       Defendants have moved for dismissal of this cause of
               action based upon Indiana Rule of Trial Procedure 4.4(C) and the
               doctrine of Forum Non Conveniens. This matter has been fully
               briefed and the Court has considered the evidence presented and
               the arguments of counsel, both written and oral.

                       The Court finds that this Court is not a convenient forum
               for resolution of Plaintiffs’ claims and that the courts of the country
               of Turkey would be a convenient and appropriate forum.

                       IT IS THEREFORE ORDERED, ADJUDGED and
               DECREED that this matter be dismissed. Plaintiffs are ordered to
               file their claims in Turkey within 120 days of this date. Plaintiffs
               will be given leave to re-file should defendants not submit to the
               jurisdiction of the Turkish courts.

Indiana Decision at 1-2.



7.      The only exception to this general consensus is plaintiffs’ argument that their claims for
spoliation, even though asserted in their Indiana complaint, were not recognized by Indiana law.
See Part III.B.1.i., infra.
8.     I have examined the transcript of the oral argument that preceded the court’s ruling, as
well as counsel’s description of the attendant briefing. See Pls.’ Opp’n to GPECS Mot. ex. 3
[doc. #33-4]; Aff. of Arnold Taylor [doc. #15-2] at 2-3 (Oct. 1, 2008). I am convinced that the
opportunity to present the issue in Indiana was full and fair.

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       It is understandable, therefore, that plaintiffs argue that defendants have not met their

burden as to the only remaining element of the issue preclusion test, namely, element (1):

whether the issues in both proceedings are identical. Plaintiffs argue that “the forum non

conveniens law applied, the issues litigated and the objective factors considered by the Indiana

state court differ from the forum non conveniens analysis which must be applied to the present

case.” Pls.’ Opp’n to GPECS Mot. [doc. #33] at 11; see also id. at 11-22.

       More fundamentally, plaintiffs argue that as a matter of law, a federal district court sitting

in diversity may never apply issue preclusion on the particular issue of forum non conveniens if

the issue was previously decided by a judgment entered in a state court. Id. at 4-11. I address

each of these arguments in turn.

               1.      Identity of Issues in the Indiana Decision

       A side-by-side comparison of the complaints in the Indiana Action and the case at bar

reveals that, on the face of the pleadings, these actions are virtually identical. 9 Compare Compl.,

Can v. Rolls-Royce Corp., Cause No. 49D03-0707-PL-029590 (Ind. Super. Ct. July 18, 2007),

reproduced in Aff. of Arnold Taylor ex. A [doc. #15-2 at 6 to #15-3 at 14] [hereinafter “Indiana

Compl.”], with Compl. [doc. #1].        But plaintiffs say the facial similarity between these

complaints is misleading, because the Indiana Court and this Court would apply different state

laws on the count for spoliation (Count V), and because the Indiana Court applied a different

balancing of factors when it adjudicated the forum non conveniens motion.

9.     The only significant contrast with the Indiana Action is that the case at bar omits the
defendant MD Helicopters, Inc., along with relevant allegations and counts. Beyond that change,
GPECS argues that the complaints are “identical.” See GPECS Mem. [doc. #15] at 9. That is
not entirely accurate; small differences between the complaints have been noted by the Court.
(For instance, a serial number in current ¶ 4 (previous ¶ 1) has been changed from JGAMU001
to JGAMU0011.) Nevertheless, aside from the legal distinctions discussed infra, plaintiffs have
not argued that these minor textual differences are meaningful.

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                       i.      Plaintiffs’ Claim for Spoliation

       Plaintiffs argue that differences in the substantive Indiana and Connecticut laws

governing spoliation should prevent this Court from applying collateral estoppel to bar their

claims. This difference between Indiana law and Connecticut law is not visible on the face of the

complaints, which are virtually identical as to this count.10 Rather, plaintiff argues that claims for

spoliation have been “recognized by the Connecticut Supreme Court,” but “Indiana ha[s] refused

to recognize intentional spoliation of evidence as an independent tort and ha[s] disallowed any

recovery of compensatory damages under such a theory of liability.” Pls.’ Opp’n to GPECS

[doc. #33] at 21.

       Because of this alleged substantive difference in law, plaintiffs further argue that courts in

Connecticut have a public policy interest in retaining claims for the intentional tort of spoliation,

while the Indiana Court was not concerned with that public policy interest. To support this

argument, plaintiffs cite several cases where courts have described a public policy rationale when

retaining jurisdiction over product-liability claims. See id. at 20. But those cases all undertake a

forum non conveniens analysis to determine whether an overseas forum is more convenient for

10.     There have been minor changes made to Count V, including the addition of the
individual defendants, who were not parties to the Indiana Action.
        There are also two textual changes. First, Paragraph 13 of Count V now includes the
words “intentionally, purposefully, knowingly and/or negligently” in describing the activities that
resulted in the destruction or spoliation of evidence, where those words were not included in
paragraph 19 of the Indiana Complaint. Second, Count V now includes the following new
allegation:
               12.    The examinations of the subject HMU and the subject ECU
               were completed on September 15, 2006 in West Hartford,
               Connecticut, and at that time were left in the possession of the
               defendant, Goodrich Pump & Engine Control Systems, Inc., and its
               employees, the defendants, Wayne Wattley, Dean Anderson and
               Jim Dana.
Compl. Count V ¶ 12, at 17. Neither change is argued to affect the identity-of-claims analysis.

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the plaintiff’s substantive claims for defective-product tort liability. None of plaintiff’s cases

suggests that a claim for spoliation of evidence — a derivative claim that entirely depends on

other claims for its existence — would be sufficient to tip an a forum non conveniens analysis in

favor of the local forum where other factors support dismissal in favor of a foreign forum.11

        Pointing to the transcript of the oral argument in Indiana, plaintiff further argues that the

Indiana court took into account the substantive difference in the state laws of Indiana and

Connecticut when it decided to dismiss its case under the doctrine of forum non conveniens. See

id. at 21.

        Plaintiffs are correct that during the oral argument on the defendants’ forum non

conveniens motion in the Indiana Action, the judge made an offhand remark about plaintiffs’

spoliation claim.   But that remark must be taken in context.          From the transcript of the




11.      The only case within the Second Circuit that plaintiffs cite is Carlenstolpe v. Merck &
Co., Inc., 819 F.2d 33 (2d Cir. 1987), for the proposition that “there is a public interest in having
a U.S. court decide issues concerning tortious conduct in this country.” Pls.’ Opp’n to GPECS
[doc. #33] at 20. But Carlenstolpe is inapposite. In that case, the Second Circuit held that a
denial of a motion to dismiss for forum non conveniens is a collateral order and is not subject to
interlocutory appeal. In so holding, the Court observed that “although the court could reasonably
have found Sweden to be an appropriate forum for this action, it surely was not an abuse of
discretion for the court to conclude that New York was in fact a more convenient forum.” 819
F.2d at 35.

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argument,12 it is apparent that the subject of spoliation came up because of an argument made by

one of the plaintiff’s counsel:

               [D]uring that investigation and inspection [of the cause of the
               crash], at some point in time, a small white piece of plastic was
               identified in the hydro-mechanical unit. . . . [O]ur experts . . . have
               developed their own theory as to how this piece of plastic caused,
               or contributed to, the crash of the helicopter. . . . [A]pparently
               now, Your Honor, that piece of white plastic is missing. So part of
               the Plaintiffs’ claim in this case is that there likely will be, or must
               be, a[] spoliation of evidence claim, and it has been plead. Under
               those circumstances, depending on where that happened — we
               believe that more likely than not it happened in Connecticut while
               in possession of Goodrich — then Connecticut law would have to
               apply to that particular portion of the tort, and under a 2006
               Connecticut Supreme Court ruling, spoliation of evidence has been
               recognized as a separate and distinct tort that is independent of the
               underlying negligence action. So in addition to the products
               liability counts that have been plead, there also is this issue of
               spoliation of evidence that is somewhat unique to the United
               States’ system of justice.

Hearing Tr. at 19-20, Indiana Action, June 23, 2008, reproduced as Pls.’ Opp’n ex. 3 [doc. #33-4]

(emphasis added). Minutes later, the same attorney stated that the Indiana Court might need to

apply “some components of Turkish law, but I believe there would also be components of

possibly Connecticut law or possibly Indiana law.”          Id. at 21-22. The attorney for M.D.

Helicopters, Inc. disagreed: “If we did not brief it, I would ask the Court to indulge us to provide


12.       In the context of defendants’ motions to dismiss under Rule 12(b)(6), the Court may
judicially notice the transcript of the hearing in Indiana, not for the truth of any matters asserted
therein, but rather for the fact that certain things were said, argued, and decided in that court.
See Global Network Communications, Inc. v. City of New York , 458 F.3d 150, 157 (2d Cir. 2006)
(“A court may take judicial notice of a document filed in another court not for the truth of the
matters asserted in the other litigation, but rather to establish the fact of such litigation and
related filings.” (quoting Int’l Star Class Yacht Racing Ass’n v. Tommy Hilfiger U.S.A., Inc., 146
F.3d 66, 70 (2d Cir. 1998))); Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991)
(“Also, courts routinely take judicial notice of documents filed in other courts, again not for the
truth of the matters asserted in the other litigation, but rather to establish the fact of such
litigation and related filings.”).

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it with authority that Indiana’s choice of law analysis does also not include the concept of . . .

dépeçage . . . where you will mix and match the laws from various states.” Id. at 27.

        The Court then responded:

                        Well, if I understood [plaintiffs’] counsel’s argument, it’s a
                free-standing cause of action in Connecticut — whether this goes
                to Turkey or — at least that’s what I think his argument was. I
                mean, I’m not trying to put words in your mouth or his mouth. So
                I don’t know how I fix this. If it’s a cause of action in and of itself,
                then it can be tried in Connecticut. I’m not saying it has to be or
                anything, but I don’t …

Id. (emphasis added; ellipsis in original).13

        Plaintiffs argue that the remark made by the judge in the Indiana Action works to cabin

that court’s decision on forum non conveniens, carving out their claim for spoliation from any

issue-preclusive effect the judgment might have otherwise. But I draw the opposite conclusion

from the transcript of that hearing. Even though the Indiana Court acknowledged that a “free-

standing cause of action in Connecticut . . . can be tried in Connecticut,” it does not necessarily

follow that plaintiffs’ claim for spoliation should be exempt from the issue-preclusive effect of

the Indiana Court’s forum non conveniens ruling. That is true for two reasons.

        First and foremost, plaintiffs’ claim for spoliation inherits the forum non conveniens

determination of the related product-liability claims precisely because the former is derived from

the latter. In Rizzuto v. Davidson Ladders, Inc., 905 A.2d 1165 (Conn. 2006), the Connecticut

Supreme Court created Connecticut’s cause of action for spoliation from whole cloth. 14 It
13.       Later, the attorney for GPECS returned to the point: “I don’t know whether there’s an
independent cause of action for spoliation or not, but . . . it doesn’t make any difference . . . ; the
question is, on balance, where is the best place to try the case. . . . [I]t should be tried in Turkey.”
Id. at 32.
14.      The opinion begins with the following two sentences: “The dispositive issue in this
appeal is whether this state should recognize intentional spoliation of evidence as a cognizable
independent tort. We conclude that, under the circumstances alleged in the present case, we

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determined that among several elements, a plaintiff claiming intentional spoliation of evidence

must prove at trial “that the defendants’ intentional, bad faith destruction of evidence rendered

the plaintiff unable to establish a prima facie case in the underlying litigation.” Id. at 1180

(emphasis added); see also id. at 1179 (listing all five elements). Because an action in this Court

could not reach the merits of a claim for Connecticut’s independent tort of spoliation without

simultaneously passing on the merits of “the underlying litigation” — plaintiffs’ product liability

action — the claim for spoliation must travel to the same forum as “the underlying litigation.”15

       Second, the transcript reveals that the operative distinction being argued in the Indiana

Court was not whether the action should be tried in Indiana or Connecticut, under each state’s

unique set of legal entitlements, but rather whether the action should be tried in the United States

or Turkey. During the hearing, plaintiffs’ counsel accurately argued that the defendants were

“not seeking to move this case from Indiana to Connecticut or to Arizona; they’re seeking to

move it to Turkey.” Hearing Tr. at 24. Plaintiffs’ counsel then argued precisely why “the public

factors and the private factors . . . strongly favor the case remaining in the United States.” Id.

(emphasis added). Listing a variety of factors, plaintiffs’ counsel then emphasized that the case

should remain “in the United States” by repeating the phrase no less than ten times, and drawing

no distinction between factors that favored Indiana, Arizona, or Connecticut respectively.

Defense counsel, by the same token, emphasized all the factors that favored Turkey — not

factors that favored other states in within the United States.
should do so.” 905 A.2d at 1169 (footnote omitted).
15.      Indeed, minor differences between one forum and another, such as whether claims may
stand as “independent” sources of damages or not, are precisely the kinds of ancillary
considerations that the Supreme Court instructs us to avoid in the forum non conveniens analysis.
See, e.g., Piper Aircraft Co. v. Reyno, 454 U.S. 235, 263 (1981) (“The doctrine of forum non
conveniens . . . is designed in part to help courts avoid conducting complex exercises in
comparative law.”).

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        It is clear from the transcript that everyone present at the forum non conveniens hearing

clearly understood that they were litigating the issue of whether the entire action belonged in the

United States of America, or whether it belonged in Turkey. That is precisely the same question

that this Court, sitting in diversity, faces today.

                        ii.     Plaintiffs’ Argument that Indiana Law Affords Wider
                                Discretion Allowing Judges To Choose Among Factors

        Plaintiffs also argue that the forum non conveniens issue facing this court is not identical

to the forum non conveniens analysis in the Indiana Action because Indiana law permits more

flexibility when balancing several factors in the analysis. See Pls.’ Opp’n to GPECS [doc. #33]

at 12-17. More particularly, plaintiffs argue that under the applicable Indiana Rule of Trial

Procedure 4.4(C),16 a judge is “free[] to pick and choose which, if any of the factors” set forth in

16.     Indiana Rule of Trial Procedure 4.4 is captioned “Service upon persons in actions for
acts done in this state or having an effect in this state,” and it provides in relevant parts:
                (C) More convenient forum. Jurisdiction under this rule is subject
                to the power of the court to order the litigation to be held
                elsewhere under such reasonable conditions as the court in its
                discretion may determine to be just.

                       In the exercise of that discretion the court may
                appropriately consider such factors as:

                        (1) Amenability to personal jurisdiction in this state and in
                        any alternative forum of the parties to the action;

                        (2) Convenience to the parties and witnesses of the trial in
                        this state in any alternative forum;

                        (3) Differences in conflict of law rules applicable in this
                        state and in the alternative forum; or

                        (4) Any other factors having substantial bearing upon the
                        selection of a convenient, reasonable and fair place of trial.

                (D) Forum Non Conveniens--Stay or Dismissal. No stay or
                dismissal shall be granted due to a finding of forum non

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that rule should be weighed, in contrast to what plaintiffs claim is the “mandatory analysis set

forth by the Supreme Court” in Gulf Oil Corp v. Gilbert, 330 U.S. 501 (1947), and its progeny.

Pls.’ Opp’n to GPECS at 16.

       I will put aside the question of whether this Court, when sitting in diversity, should apply

federal or Connecticut caselaw to a motion for forum non conveniens.17 The Connecticut

Supreme Court has pointed to federal decisions on forum non conveniens as the proper “frame of

reference” for Connecticut law.18 Durkin v. Intevac, Inc., 782 A.2d 103, 112-13 (Conn. 2001)

               conveniens until all properly joined defendants file with the clerk
               of the court a written stipulation that each defendant will:

                       (1) submit to the personal jurisdiction of the courts of the
                       other forum; and

                       (2) waive any defense based on the statute of limitations
                       applicable in the other forum with respect to all causes of
                       action brought by a party to which this subsection applies.

               (E) Order on Forum Non Conveniens--Modification. The court
               may, on motion and notice to the parties, modify an order granting
               a stay or dismissal under this subsection and take any further
               action in the proceeding as the interests of justice may require. If
               the moving party violates a stipulation required by subsection (D),
               the court shall withdraw the order staying or dismissing the action
               and proceed as if the order had never been issued. Notwithstanding
               any other law, the court shall have continuing jurisdiction for the
               purposes of this subsection.

17.      In one of the leading cases on forum non conveniens, Piper Aircraft Co. v. Reyno, the
Supreme Court declined to determine the Erie question of whether forum non conveniens is a
procedural doctrine, which would require a district court sitting in diversity to apply the federal
common law of forum non conveniens, or whether instead the doctrine is substantive in nature,
therefore requiring district courts to apply the law of a particular state. Given the degree of
similarity between the state and federal doctrines, I reach the same conclusion that the Supreme
Court reached in Piper: the distinction would not affect the outcome of this case. 454 U.S. at
249 n.13 (noting that in previous decisions, federal district courts had reached the conclusion that
state and federal forum non conveniens analyses were “virtually identical,” and declining to
disturb that conclusion).
18.     For a discussion of the steps and factors involved, see Part IV.A., infra.

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(“With these principles in mind, we turn to the four step process for examining forum non

conveniens claims outlined in Gulf Oil Corp. v. Gilbert and clearly set forth in Pain v. United

Technologies Corp., [D.C. Cir. 1980], which we have stated is a ‘useful frame of reference for

the law of Connecticut.’” (citations omitted)); id. at 110 nn.7-8 (pointing out that Connecticut

cases on forum non conveniens merely elaborate upon the core principles in Gulf Oil Corp. v.

Gilbert).

       I turn now to the core of plaintiffs’ argument, that the state-law forum non conveniens

analysis facing the Indiana Court was not identical to the federal-law analysis facing this Court

today. Plaintiffs concede that “there is a similarity in the spirit of Indiana and federal forum non

conveniens rules,” but they argue that the rules, “and more importantly their application, are not

the same.” Pls.’ Opp’n to GPECS at 15. For this proposition, plaintiffs cite McCracken v. Eli

Lilly & Co., 494 N.E.2d 1289 (Ind. Ct. App. 1986), an appeal from an Indiana trial court’s

dismissal for forum non conveniens pursuant to T.R. 4.4(C), which the Indiana Court of Appeals

reviewed for abuse of discretion.19

       Plaintiffs are correct that the text of Trial Rule 4.4(C) seems to prescribe different steps or

factors than those provided by the Supreme Court in Gulf Oil Corp v. Gilbert. But McCracken
19.       During the forum non conveniens hearing in the Indiana Action, all counsel relied on
federal cases on forum non conveniens, and at one point, counsel for GPECS drew the Court’s
attention to McCracken as having followed Supreme Court precedent on forum non conveniens.
See Hearing Tr. at 32. Similarly, GPECS argues in its Reply here that “when before the Indiana
Court, the plaintiffs urged application of federal case law as interpretative guidance concerning
the various public and private factors to be considered under Indiana Rule of Practice 4.4.(c).”
GPECS Reply [doc. #40] at 5-6. In a footnote, GPECS points out that in the Indiana Action,
plaintiffs cited as authority approximately 30 federal cases. Id. at 6 n.3.
        Although I might have judicially noticed the briefs before the Indiana Court if they had
been provided, for the purposes of this motion to dismiss, I do not rely on GPECS’s
characterization of those briefs. Nevertheless, it appears from the transcript that the general
trend in this litigation was to look to federal cases on forum non conveniens, and plaintiffs give
me no reason to doubt that impression.

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does not merely identify a ‘similarity in spirit’ and stop there. Instead, McCracken explicitly and

unmistakably relies upon and applies federal jurisprudence when reviewing the lower court’s

decision. The decision begins:

               Initially we note that we place reliance upon the holdings in four
               federal cases which bear a factual similarity to the case on
               appeal. . . . The language used in the federal cases displays a
               semantic difference in some degree from the language contained in
               T.R. 4.4.(C); however, there is a sufficient similarity in the spirit of
               the state and federal rules as they relate to the doctrine of forum
               non conveniens in the context of international litigation that we
               deem them to be appropriate authority in deciding this appeal.

494 N.E.2d at 1292 (citations omitted; emphases added)); see also Hafner v. Lutheran Church-

Missouri Synod, 616 F. Supp. 735, 742 (N.D. Ind. 1985) (former Indiana Court of Appeals Judge

Sharp, writing as chief judge of the federal Northern District of Indiana, describing an “overlay

between the factors considered in Indiana Trial Rule 4.4(C) and those identified . . . in Gulf Oil

Corp. v. Gilbert,” and concluding that “under both Indiana and federal law the dismissal of this

case could be based upon forum non conveniens”); 21 Stephen E. Arthur & Jerome L. Withered,

Indiana Practice Series: Civil Trial Practice § 10.1 (citing federal precedent alongside state cases

to describe the doctrine of forum non conveniens in Indiana) (Supp. 2009).

       Moreover, after announcing that it intended to “place reliance” upon federal decisions,

the appellate court in McCracken marched through the paces of the federal test for forum non

conveniens — and not any other alternative state test — to determine whether the lower court

had properly applied the doctrine. Thus, McCracken contains a discussion of the balance of

public and private interests in favor of the local and foreign forums, 494 N.E.2d at 1292-93, the

deference owed to plaintiff’s choice of forum, id. at 1293, and the adequacy and availability of

the alternate forum, id. The court did not suggest that any of these three key considerations —


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availability and adequacy of an alternate forum, deference to the plaintiff’s choice of forum, and

the balance of private and public interests — could be omitted or ignored by Indiana courts.

        Similarly, in this case, plaintiffs presented arguments to the Indiana Court on all of these

factors. See Tr. at 15, 21, 23-24, 33-34 (availability and adequacy of Turkish courts); id. at 17-

18, 36, 38 (deference due to plaintiff’s choice of forum); id., passim (balance of public and

private factors). There is no suggestion in the record that the Indiana Court failed to consider

any of the factors that were argued.

        Plaintiffs are correct that the brevity of the Indiana Decision makes the Indiana Court’s

decision somewhat difficult to parse. Plaintiffs may also be right to complain that the Indiana

Court failed to make “findings of fact relative to the motions” on the record. Pls.’ Opp’n to

GPECS at 16. But even if the Indiana Court had misapplied Indiana law and committed

reversible error, the remedy for such error was to seek articulation or to appeal the decision. 20

The text of the order may be terse, but its determination of the forum non conveniens issue is

clear. When applying issue preclusion, it is not this Court’s place to review the merits of, or

correct legal errors in, the previous decision. See Grieve v. Tamerin, 269 F.3d 149, 153-54 (2d

Cir. 2001) (previous district court’s dismissal in deference to pending state-court action, even

though erroneous, precluded relitigation of that issue in separate action commenced in another

district court).

        Furthermore, I conclude that to the extent they exist, any minor differences between the

federal and Indiana forum non conveniens doctrines are immaterial, because the underlying issue

is fundamentally identical. See Fulani v. Bentsen, 862 F. Supp. 1140, 1151 (S.D.N.Y. 1994)

20.    In fact, plaintiffs did file such an appeal, before withdrawing it undecided. See Notice
of Appeal, GPECS Mot. ex. C [doc. #15-3 at 18]; Motion for Voluntary Dismissal of Appeal,
GPECS Mot. ex. D [doc. #15-3 at 22].

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(“[T]he fact that substantive law may be different in the two jurisdictions does not affect the

application of issue preclusion.”(quoting Yamaha Corp. of Am. v. United States, 961 F.2d 245,

258 (D.C. Cir. 1992))); cf. Montana v. United States, 440 U.S. 147, 158, 161-62 (1979) (rejecting

the contention that collateral estoppel “extends only to contexts in which the controlling facts

and applicable legal rules remain unchanged,” and holding that collateral estoppel operates

“unless there have been major changes in the law governing” the issue, or “major doctrinal

shifts” to render issues non-identical (internal quotation marks omitted)).

               2.      Availability of Federal Issue Preclusion Based on Forum Non
                       Conveniens when Previous Decision was in State Court

       Plaintiffs’ final argument why this Court should not apply issue preclusion based on the

Indiana Judgment boils down to their professed belief that no state court’s judgment is entitled

to preclusive effect with respect to forum non conveniens in a federal court. Defendants respond

that the Full Faith and Credit Clause of the Constitution, U.S. Const. art. IV § 1, requires this

Court to impute the same preclusive effect to a state-court judgment that I would accord to a

federal judgment.

       Here again, defendants have the law on their side. In Conopco, Inc. v. Roll International,

already discussed supra, the Second Circuit made clear that the Full Faith and Credit Clause,

enforced through the Full Faith and Credit Act, 28 U.S.C. § 1738, 21 has “traditionally been

applied” to issue preclusion (collateral estoppel), so long as the state proceedings “satisfy the


21.      Under the Full Faith and Credit Act, judicial proceedings of another state “shall have the
same full faith and credit in every court within the United States and its Territories and
Possessions as they have by law or usage in the courts of such State, Territory or Possession from
which they are taken.” 28 U.S.C. § 1738. In Parsons Steel, Inc. v. First Alabama Bank, 474
U.S. 518 (1986), the Supreme Court held that the Full Faith and Credit Act requires this Court
“to give the same preclusive effect to a state-court judgment as another court of that State would
give.” 474 U.S. at 523.

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minimum procedural requirements of the Fourteenth Amendment’s Due Process Clause.” 231

F.3d at 87 (citation omitted).

          Plaintiffs do not appear to disagree with the premise that if they raised their claims in

another Indiana Superior Court, collateral estoppel would apply to bar their claims. Rather, they

place heavy reliance on Parsons v. Chesapeake & Ohio Railroad Co., 375 U.S. 71 (1963), which

held that “a prior state court dismissal on the ground of forum non conveniens can never serve to

divest a federal district judge of the discretionary power vested in him by Congress to rule upon

a motion to transfer under [28 U.S.C.] § 1404(a).”          375 U.S. at 74.    Because § 1404(a)

incorporates many of the same factors as the common law doctrine of forum non conveniens, and

because it is frequently referred to as the “convenience transfer statute,” see 17 James Wm.

Moore, Moore’s Federal Practice § 111.03[1] (2009), plaintiffs assume that the holding in

Parsons v. C&O Railroad must apply to common-law forum non conveniens determinations as

well.22

          Plaintiffs’ interpretation of Parsons v. C&O Railroad is mistaken. It is beyond question

that 28 U.S.C. § 1404(a) did not eliminate the common law doctrine of forum non conveniens;

rather, it restricted its application only to “cases where the alternative forum is abroad.” Am.

Dredging Co. v. Miller, 510 U.S. 443, 445 n.2 (1994). District courts have broader discretion to

transfer venue within the United States, pursuant to § 1404(a), than they have when deciding

whether to dismiss in favor of another nation, which requires a greater showing of

inconvenience. See Piper Aircraft Co. v. Reyno, 454 U.S. 235, 253 (1981) (because of the

greater discretion afforded to district courts under § 1404(a), cases that “focus on ‘the

22.      This misunderstanding is sometimes shared by the courts. See, e.g., Spar, Inc. v. Info.
Res., Inc., 956 F.2d 392, 393 (2d Cir. 1992) (referring to a motion under § 1404(a) as a “forum
non conveniens” motion).

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construction and application’ of § 1404(a)” are “simply inapplicable to dismissals on grounds of

forum non conveniens”); Guidi v. Inter-Continental Hotels Corp., 224 F.3d 142, 148 (2d Cir.

2000) (same). Thus, the holding in Parsons is “simply inapplicable” here.23 In Parsons, the

Supreme Court reasoned that between the state and federal courts, “different factual

considerations may be involved in each court’s determination” of whether the chosen state was

the best forum for a case. 375 U.S. at 74. That does not affect my conclusion that the Indiana

Court applied the same factors when deciding whether the United States was the proper country

in which to bring this action. See also Chazen v. Deloitte & Touche, LLP, 247 F. Supp. 2d 1259

(N.D. Ala. 2003), aff’d in relevant part, and rev’d in part, 88 Fed. Appx. 390 (11th Cir. Dec 12,

2003) (table disposition) (distinguishing Parsons and applying collateral estoppel to preclude re-

litigation of the issue of forum non conveniens).24

       Plaintiffs also point to a recent decision of the Montana Supreme Court to argue that the

Full Faith and Credit Clause does not apply here. [Doc. #47] at 2. In that case, the Montana




23.      Likewise, the cases applying Parsons that plaintiffs cite on pages 6 to 8 of their brief are
not helpful. Noriega v. Lever Brothers Co., 671 F. Supp. 991 (S.D.N.Y. 1987), correctly applies
the Parsons holding to avoid reliance on a state-versus-state forum determination. Naiditch v.
Banque de Gestion Privee-SIB, No. 92 C 5290, 1993 WL 153600 (N.D. Ill. May 10, 1993),
misreads Parsons to apply to international forum non conveniens determinations when in fact it
does not. Finally, Mizokami Brothers of Arizona, Inc. v. Mobay Chemical Corp., 660 F.2d 712
(8th Cir. 1981), declines to give preclusive effect to a federal court’s previous forum non
conveniens determination, because the prior ruling determined only that litigation in the District
of Arizona was not convenient; the issue of whether a federal district in Missouri might be a
more appropriate forum was “not explored in the Arizona litigation.” 660 F.2d at 716.
24.      In an unpublished decision, the Eleventh Circuit affirmed the district court’s extensive
analysis of Parsons as well as its independent determination, in the alternative, that it was not the
best forum for plaintiff’s claims. The court of appeals reversed and remanded with only an
instruction that the dismissal of the case should have been without prejudice, because a dismissal
for collateral estoppel is not a “decision on the merits.” Judgment [doc. #30], No. 02-cv-00352-
KOB (N.D. Ala. filed Jan. 14, 2004).

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Supreme Court held that an Illinois Court’s forum non conveniens dismissal was not binding

upon the state courts of Montana. See Cook v. Soo Line R.R. Co., 198 P.3d 310 (Mont. 2008).

       Plaintiff’s characterization of the Montana Supreme Court’s holding is mistaken,

precisely because the prior dismissal in Illinois adjudicated the question of which state was the

most appropriate forum for plaintiff’s claim. See id. at 315 (the state trial court “erred by

affording full faith and credit to the portion of the Illinois Decision ordering Cook to re-file in

Indiana”). In this respect, the Montana Supreme Court’s holding is exactly in line with U.S.

Supreme Court precedent: a state court’s determination of best forum state is not necessarily

binding upon the federal courts (or other states); but a state court’s determination of the best

forum country is entitled to full faith and credit.

IV.    Substantive Forum Non Conveniens Analysis

       Because I am bound by the Full Faith and Credit Act to give preclusive effect to the

Indiana Court’s forum non conveniens determination, I dismiss this case on that ground.

However, in the alternative and in the interests of judicial economy, I also address the substantive

forum non conveniens question raised by RRC in its Motion To Dismiss [doc. #17], and

accordingly undertake to make my own, independent determination of that issue.

       A.      Applicable Law

       As I have already mentioned, it is unclear whether I should apply Connecticut or federal

caselaw when adjudicating a forum non conveniens motion while sitting in diversity, but the

point is moot since the doctrines are virtually identical.      See Part III.B.1.ii., note 17 and

accompanying text, supra.

       I recently had occasion to summarize Second Circuit precedents in determining a motion

to dismiss a case for forum non conveniens:

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                      The doctrine of forum non conveniens permits a court to
              dismiss an action “even if the court is a permissible venue with
              proper jurisdiction over the claim.” A district court should dismiss
              a complaint where, on balance, the resolution of the matter in an
              adequate alternative forum would be more convenient for the
              parties and courts and more just. “The first step in a forum non
              conveniens analysis is for the court to establish the existence of an
              adequate alternative forum. Second, the court must determine the
              level of deference to accord the plaintiff’s choice of forum. Third,
              the court must weigh the public and private interests in order to
              determine which forum will be most convenient and will best serve
              the ends of justice.”

                      A decision to dismiss “lies wholly within the broad
              discretion of the district court and may be overturned only when
              we believe that discretion has been clearly abused.” “In the last
              analysis, it always must be borne in mind that there is no algorithm
              that assigns precise weights to the factors that inform forum non
              conveniens determinations. The doctrine instead is intensely
              practical and fact-bound. The most that may be said is that courts
              reach informed judgments after considering all of the pertinent
              circumstances.”

LaSala v. Bank of Cyprus Public Co., 510 F. Supp. 2d 246, 254 (S.D.N.Y. 2007) (Haight, J.)

(collecting Second Circuit authority; citations omitted; emphasis in original). The Supreme

Court has said that its own decisions “have repeatedly emphasized the need to retain flexibility”

among the “factor[s] which may show convenience, ” and that “[i]f central emphasis were placed

on any one factor, the forum non conveniens doctrine would lose much of the very flexibility that

makes it so valuable.” Piper Aircraft Co. v. Reyno, 454 U.S. at 249-50.

       With this standard in mind, I turn to the facts in this case.

       B.     Discussion

       As a general defense, plaintiffs argue that the purpose of a forum non conveniens

dismissal is to prevent vexation, harassment, and oppression of defendants. See Pls.’ Opp’n to

RRC at 29. That language, found in Gulf Oil Corp v. Gilbert, 330 U.S. at 508, may have


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reflected the birthplace of the doctrine, but the purpose of the doctrine today is not merely to

prevent such harassment.     As plaintiffs acknowledge, “Gilbert held that dismissal may be

warranted where a plaintiff chooses a particular forum, not because it is convenient, but solely in

order to harass the defendant or take advantage of favorable law.” Piper, 454 U.S. at 249 n.15

(emphases added). The absence of vexation or harassment is not determinative as to any of the

factors prescribed by Gilbert. I turn to those factors now.

               1.      Adequacy of the Alternative Forum

       An alternative forum is adequate “if the defendants are amenable to service of process

there, and if it permits litigation of the subject matter of the dispute.” Pollux Holding Ltd. v.

Chase Manhattan Bank, 329 F.3d 64, 75 (2d Cir. 2003); see also Piper, 454 U.S. at 254. This

does not mean that an identical cause of action, or the same degree of relief, must be available in

the alternative forum. See PT United Can Co., Ltd. v. Crown Cork & Seal Co., 138 F.3d 65, 74

(2d Cir. 1998); Transunion Corp. v. PepsiCo, Inc., 811 F.2d 127, 129 (2d Cir. 1987).

       In the course of obtaining their forum non conveniens dismissal in the Indiana Action, the

defendants in this case have already stipulated that they will not contest personal jurisdiction in

Turkey, and that they will waive any statute-of-limitations defense. See RRC Br. at 30 [doc. #17-

2 at 38]; In. R. Trial P. 4.4(D), note 16, supra (requiring such waivers). Plaintiffs do not contend

that the defendants in this case have reneged on such a promise.

       Indeed, in their brief, plaintiffs do not even argue that Turkey is an inadequate forum.

Defendants, on the other hand, have submitted affidavits to demonstrate that Turkish law

provides for a remedy for plaintiffs. Specifically, the Turkish Code of Obligations provides a

cause of action for negligent injury, including death (Article 41), and a plaintiff may recover

medical expenses, funeral expenses, and lost income as a result of a wrongful death (Article 45),

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as well as reparations for a relative’s loss of a decedent’s companionship (Article 47). See Aff.

of Erdem Degerli ¶¶ 12-14, RRC Br. ex. D [doc. #17-7] at 4-6. Furthermore, the defendants’

waivers of potential defenses based on personal jurisdiction or timeliness are valid and binding in

Turkey. Id. ¶¶ 17-18. Absent opposition, the Court sees no reason to doubt the expert evidence

offered by defendants. I find that Turkey is an adequate alternate forum.

               2.      Deference Due to Plaintiffs’ Choice of Forum

       In cases with foreign defendants, the home forum for the plaintiff is any federal district in

the United States. See Guidi v. Inter-Continental Hotels Corp., 224 F.3d 142, 146 (2d Cir. 2000).

Thus, in this case, “I must consider the deference that should be given plaintiffs’ choice to sue in

the United States (not [Connecticut] specifically) as opposed to [Turkey].” LaSala, 510 F. Supp.

2d at 256.

       Usually, a plaintiff’s choice of forum commands considerable deference. But “[w]hen

the plaintiff’s choice is not its home forum, [] the presumption in the plaintiff’s favor ‘applies

with less force,’ for the assumption that the chosen forum is appropriate is in such cases ‘less

reasonable.’” Sinochem, 549 U.S. at 430 (quoting Piper, 454 U.S. at 255-256). The Second

Circuit has specifically cautioned district courts that in these cases, “a plausible likelihood exists

that the selection was made for forum-shopping reasons,” and even if this forum “was not chosen

for such forum-shopping reasons, there is nonetheless little reason to assume that it is convenient

for a foreign plaintiff.” Iragorri v. United Techs. Corp., 274 F.3d 65, 71 (2d Cir. 2001) (en banc).

       Under the Iragorri framework, when determining the degree of deference owed to

plaintiffs’ choice of forum, this Court should consider “the plaintiff’s or the lawsuit’s bona fide

connection to the United States and to the forum of choice,” which includes “convenience of the



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plaintiff’s residence in relation to the chosen forum,” as well as other factors that are neutral in

this case. Id. at 72 (footnote omitted).

        Here, plaintiffs cannot argue that they have any bona fide connection to the United States,

and they unabashedly acknowledge that this judicial district was chosen as part of a “litigation

strategy” to keep their claims in the United States. Pls.’ Opp’n to RRC at 22. Thus, on the

“sliding scale” of deference, Iragorri, 274 F.3d at 71, I find that the choice of the United States

as the forum is entitled to very little, if any, deference.

                3.      Balance of Factors

        In Gulf Oil Corp. v. Gilbert, the Supreme Court enunciated the private and public interest

factors to consider when determining which forum is most convenient and will best serve the

ends of justice. These include “the relative ease of access to sources of proof; availability of

compulsory process for attendance of unwilling, and the cost of obtaining attendance of willing,

witnesses; possibility of view of premises, if view would be appropriate to the action; and all

other practical problems that make trial of a case easy, expeditious and inexpensive.” 330 U.S. at

508. Public interest factors include administrative difficulties stemming from court congestion,

the interest in having “localized controversies decided at home,” and the interest in having issues

of foreign law decided by a foreign tribunal. Id. at 508-09.

                        i.      Private Factors

        RRC argues, and plaintiffs do not dispute, that all of the individuals who perished in the

helicopter accident were citizens of Turkey. The plaintiffs in this action are all citizens of

Turkey. Witnesses to the actual accident remain in Turkey. The helicopter wreckage, including

the helicopter engine itself, is in Turkey, as is a substantial amount of other physical and

documentary evidence. “Where alleged misconduct is centered in the foreign forum and the

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majority of evidence resides there, dismissal is favored.” LaSala, 510 F. Supp. 2d at 258

(collecting cases).

       Plaintiffs argue in response that RRC has failed to identify with specificity “a single

witness or a single class of documents that possess or contain relevant information and are not

present or easily accessible in the United States,” and moreover, that defendants here are “in

possession of the engine maintenance and airframe records in the United States.” Pls.’ Opp’n to

RRC at 29. In contrast, plaintiffs argue that they have “set forth at least ten relevant and

necessary witnesses in the United States.”       Id. at 33.   Further disagreements over which

witnesses are under RRC or GPECS’s control, and which ones would be available to testify in

Turkey, was the subject of continued disagreement in RRC’s reply memorandum, plaintiffs’

surreply, and a sur-surreply from RRC. See Docs. ##39, 44, 45.

       As for witnesses, for the purposes of this motion, it is enough to observe that some

witnesses are in Turkey and some are in the United States. Both plaintiffs and defendants will

assume the cost of transporting the “willing” witnesses and evidence to their preferred forum,

and neither party has submitted evidence regarding the cost of that transportation. Willing

witnesses, therefore, favor neither party.

       As for documentary evidence, RRC and GPECS may have retained copies of some

documents during their investigations into the accident, and certain maintenance and training

records will be exclusively in their possession, but the cost of transmitting these documents is

negligible in today’s electronic era, and RRC has agreed to provide “any documents and any

witnesses whose testimony is deemed relevant.” Aff. of W. Eric Pedersen ¶ 10 [doc. #39-2 at 3].

Similarly, as to physical evidence, plaintiffs are “willing and able to bring the subject engine and



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its component parts to the United States at their expense.” Pls.’ Opp’n to RRC at 34. Thus, I

find that documentary and physical evidence favors neither party, so long as it is within the

parties’ control.

        Thus, the Court considers with extra care the other factors identified in Gulf Oil Corp. v.

Gilbert, including “the relative ease of access to sources of proof,” the “availability of

compulsory process for attendance of unwilling . . . witnesses,” and a view of the accident scene.

330 U.S. at 508.      Aside from willing witnesses and documents produced by the parties

themselves, the “sources of proof” that will be required in this air-crash negligence case are

clearly located in Turkey. In particular, physical evidence is located in Turkey — and although

plaintiffs pledge their eagerness to pay for its transportation, and they state that Turkish

authorities have “allowed” this evidence to be transported “[t]o date,” Pls.’ Opp’n to RRC at 34,

the evidence is nevertheless clearly outside this Court’s subpoena power. Similarly, the bulk of

the likely unwilling witnesses, such as those “who could testify about the maintenance of the

helicopter, training of the pilot, and investigation of the accident,” RRC Br. at 33, are

unquestionably located in Turkey. The scene of the accident can only be viewed in Turkey. And

finally, the Court notes that most, if not all, of the records and reports generated in Turkey will be

in Turkish, favoring a Turkish-speaking trier of fact.

        In sum, balance of the private factors strongly favors the country of Turkey as the more

convenient forum.

                       ii.     Public Factors

        The Supreme Court’s articulation of the public policy factors that weigh upon the Court’s

discretion are the same today as they were in 1947, when Gulf Oil Corp. v. Gilbert was decided:



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                        Factors of public interest also have place in applying the
               doctrine. Administrative difficulties follow for courts when
               litigation is piled up in congested centers instead of being handled
               at its origin. Jury duty is a burden that ought not to be imposed
               upon the people of a community which has no relation to the
               litigation. In cases which touch the affairs of many persons, there
               is reason for holding the trial in their view and reach rather than in
               remote parts of the country where they can learn of it by report
               only. There is a local interest in having localized controversies
               decided at home. There is an appropriateness, too, in having the
               trial of a diversity case in a forum that is at home with the state law
               that must govern the case, rather than having a court in some other
               forum untangle problems in conflict of laws, and in law foreign to
               itself.

330 U.S. at 508-09; see also Iragorri, 274 F.3d at 74 (quoting this passage in full).

       In all these respects, the record before me speaks with stark clarity: this case belongs in

Turkish courts. Plaintiffs’ only arguments to the contrary are vague assertions that domestic

corporations must be held liable for the defects inherent in their products, and an argument that

Connecticut’s “independent cause of action” for spoliation creates a public interest in

Connecticut. See Pls.’ Br. at 37-39. Neither of these arguments is compelling.

       “[C]ourts have repeatedly exercised their discretion to hold that a defendant’s

manufacturing activities within the U.S. do not tilt the public interest in favor of retaining

jurisdiction . . . .” In re Air Crash Near Peixoto De Azeveda, Braz. on Sept. 29, 2006, 574 F.

Supp. 2d 272, 288 (E.D.N.Y. 2008) (citing cases). Having considered the factors set forth by the

Supreme Court, I easily conclude that the United States’s interest in this case “pales in

comparison” to Turkey’s. Id.

       As for plaintiffs’ arguments about spoliation, they are as unavailing here as they were to

distinguish this Court’s forum non conveniens test from the one facing the Indiana Court. For

reasons discussed supra, the Connecticut Supreme Court’s spoliation claim requires “underlying


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litigation.” Rizzuto, 905 A.2d at 1180. The derivative spoliation claim, which only springs to

life when the primary cause of action has been sabotaged by malfeasance, cannot tip the balance

of public interest factors in favor of the United States, precisely because the merits of the

“underlying litigation” will need to be determined by a Turkish court.

V.     RRC’s Motion To Dismiss under Rule 12(b)(2) for Lack of Personal Jurisdiction

       Because this case is appropriate for dismissal under the doctrine of forum non

conveniens, the Court need not reach RRC’s arguments against personal jurisdiction.         See

Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp., 549 U.S. 422, 436 (2007) (“[W]here

subject-matter or personal jurisdiction is difficult to determine, and forum non conveniens

considerations weigh heavily in favor of dismissal, the court properly takes the less burdensome

course.”); Pls.’ Opp’n to RRC [doc. #32] at 20-21 (requesting discovery into factual issues

surrounding personal jurisdiction).

VI.    Conclusion

       I am mindful of the Second Circuit’s words of caution: “just as plaintiffs sometimes

choose a forum for forum-shopping reasons, defendants also may move for dismissal under the

doctrine of forum non conveniens not because of genuine concern with convenience but because

of similar forum-shopping reasons.” Irragori, 274 F.3d at 75. Nevertheless, the balance of

factors in this case overwhelmingly favors the convenience of the Turkish forum over that of the

United States. To the extent a dismissal on those grounds is not already compelled by the

Indiana Judgment, I independently reach that conclusion now.

       The defendants’ motions to dismiss are GRANTED, and plaintiffs’ Complaint is

DISMISSED. A subsequent determination on the issue of forum non conveniens is precluded by



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the Indiana Judgment; and to the extent such preclusion does not exist, the balance of

convenience factors strongly favors dismissal in favor of the Turkish forum.

       The Clerk is instructed to close the file.

Dated: New Haven, Connecticut
       May 10, 2010

                                                /s/ Charles S. Haight, Jr.
                                              Charles S. Haight, Jr.
                                              Senior United States District Judge




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